869 F.2d 594Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.John Dino MARTIN, Plaintiff-Appellant,v.Thomas HAGG, Prosecuting Attorney for Hancock County, WestVirginia;  Hunter Smith, Special Assistant U.S. Attorney forNorthern District of West Virginia;  Tim Murphy, WestVirginia Department of Corrections, Individually and intheir official capacities, Defendants-Appellees.
    No. 88-7313.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Jan. 19, 1989.Decided:  Feb. 13, 1989.
    
      John Dino Martin, appellant pro se.
      Before DONALD RUSSELL and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      John Dino Martin appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Martin v. Hagg, C/A.  No. 88-162-E(K) (N.D.W.Va. Oct. 21, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    